
By the Court.
Leonard, J.
The question presented in this case has been passed upon by this court adversely to the plaintiffs. Heywood v. City of Buffalo, 14 N. Y. 537. Assume, as the complaint alleges, that the assessment is illegal, the plaintiffs have, or had, at least, two complete remedies at law. The assessment might have been reviewed and corrected by certiorari, or have been stricken from the roll by mandamus. These remedies are adequate for the plaintiffs’ relief, as there is abundant authority to show, cited by the learned counsel for the respondents. Where there are such remedies fully adequate, the aid of a court oí equity cannot be invoiced.
The case principally relied on by the counsel for the appellants to maintain these actions was decided in 1863, since the judgment was rendered in the courts below, and is reported in 26 N. Y. 303; People v. New England Mutual Life Ins. Co. That case was submitted on a statement of facts agreed on by the respective parties under section 372 of the Code. In the court below the tax was held to be legal, and judgment was rendered against the company for the recovery of the amount. Upon an appeal to this court, that judgment was reversed, and the assessment held to be illegal. No objection was raised to the determination of the question. On the contrary, both parties asked the determination of the legality of the tax. In the cause at bar the objection is specifically raised, based upon the decisions of this court, that a court of equity will not take cognizance or grant equitable relief by injunction where full relief can be obtained at law. The appellants cannot be aided by the decision in 26 N. Y., without overturning prior authority in this court in no respect inconsistent with that decision.
It has been held by the court that the act of 1853 {Sess. L. *347ch. 463), for the incorporation of life insurance companies, and in relation to the agencies of foreign companies, repeals so much of chapter 51 of Laws of 1851 as required the deposit by foreign companies of one hundred thousand dollars with the comptroller; but it is unnecessary to go into the merits of this question, inasmuch as it appears from the decisions that no relief can be administered in equity where the remedies at law are adequate for the attainment of justice.
The judgment appealed from must be affirmed, with costs.
All the judges concurred.
Judgments affirmed, with costs.
